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                   IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF PUERTO RICO


 UNITED STATES OF AMERICA
 Plaintiff
 vs                                          CRIMINAL 12-0154CCC
 1) JOSE RIVERA-DIDES
 2) JORGE OMAR VICENTY-MELENDEZ
 3) REY GONZALEZ
 4) EDWIN MARIN-MARTINEZ
 5) ALEJANDRO ROSARIO-RIVERA
 6) GERMAN MORALES-COLON
 7) MIGUEL PEREZ-RIVERA
 8) JOSUE ROSARIO-RESTO
 9) JONATHAN RIVERA-MEDINA
 10) LUIS E. ACEVEDO-OQUENDO
 11) LUIS J. ACEVEDO-OQUENDO
 12) JUAN ALVARADO-HERNANDEZ
 13) GAMALIER RODRIGUEZ-TAÑON
 14) RAFAEL MARIN
 15) CARLOS A. DE JESUS-CUEVAS
 16) WILLIAM RIVERA-RODRIGUEZ
 17) JONATHAN GONZALEZ-COLON
 18) WILFREDO RODRIGUEZ-RIVERA
 19) RAUL MARIN-MARTINEZ
 20) JUAN DAVID MARIN-MARTINEZ
 21) GIOVANNI GONZALEZ-TORRES
 22) JOSE BAEZ-LEON
 23) AVIDAEL HERNANDEZ-AGOSTO
 24) FERNANDO SUAREZ-LAFONTAINE
 25) JONATHAN GONZALEZ-MEDINA
 26) JOAN SERRANO-RODRIGUEZ
 27) FELIPE MAS-QUILES
 28) JOSE MEDINA-GRAU
 29) CARLOS FELICIANO-GONZALEZ
 30) EMANUEL PAGAN-COLLAZO
 31) MICHELLE RODRIGUEZ-RIVERA
 32) ALEX DE JESUS-CAQUIAS
 33) MARIO RIVERA-DIDES
 34) JORGE L. PAGAN-COLLAZO
 35) JORGE L. NEGRON-CASTELLANO
 36) CALIXTO RIVERA-MONTERO
 37) SIGFREDO DE JESUS-RODRIGUEZ
 38) JOSE GIOVANNI RIVERA
 39) JAVIER DE JESUS-GONZALEZ
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 40) GABRIEL SOTO
 41) ALEX ARROYO-RAMOS
 Defendants


                                          ORDER

       Having considered the Report and Recommendation filed on December 18, 2013
(docket entry 1152) on a Rule 11 proceeding of defendant Carlos Feliciano-González (29)
before U.S. Magistrate Judge Camille L. Vélez-Rivé on December 13, 2013, to which no
objection has been filed, the same is APPROVED. Accordingly, the plea of guilty of
defendant is accepted. The Court FINDS that his plea was voluntary and intelligently
entered with awareness of his rights and the consequences of pleading guilty and contains
all elements of the offense charged in the indictment.
       This case was referred to the U.S. Probation Office for preparation of a Presentence
Investigation Report since December 13, 2013. The sentencing hearing is set for
March 13, 2014 at 4:15 PM.
       The U.S. Probation Officer is reminded that, should any objections be raised by
defendant to the PreSentence Report, the Addendum to said PreSentence Report must
specifically identify any unresolved objections, the grounds for the objections, and the
U.S. Probation Officer’s comments on them, as required by Fed. R. Crim. P. 32(g). The
party that raised the unresolved objections shall, within twenty-four (24) hours after the
Addendum is disclosed, state in writing whether it will insist that the unresolved objections
be ruled upon by the Court. Failure to do so will be deemed by the Court as a withdrawal
of the unresolved objections.
       SO ORDERED.
       At San Juan, Puerto Rico, on January 8, 2014.



                                          S/CARMEN CONSUELO CEREZO
                                          United States District Judge
